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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR313

       vs.
                                                                        ORDER
SHERRI L. ATKINS,

                       Defendant.


       This matter is before the court on Defendant's UNOPPOSED MOTION TO EXTEND
PRETRIAL DEADLINES [35]. For good cause shown, I find that the motion should be granted.
Defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by
December 3, 2018.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND PRETRIAL DEADLINES
[35] is granted. Pretrial motions shall be filed on or before December 3, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between October 31, 2018, and December 3, 2018,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       Dated this 2nd day of November, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
